                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN
WILLIAM FEEHAN,
               Plaintiff,
      v.                                      Case No. 20-CV-1771
WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official capacities,
GOVERNOR TONY EVERS, in his official
capacity,
               Defendants.
        DEFENDANTS WISCONSIN ELECTIONS COMMISSION
   AND ITS MEMBERS’ BRIEF IN SUPPORT OF MOTION TO DISMISS

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      Defendants Wisconsin Elections Commission, Ann S. Jacob, Mark L. Thomsen,

Marge Bostelman, Julie M. Glancey, Dean Knudson, and Robert F. Spindell, Jr., in

their official capacities, by their attorneys, hereby submit this brief in support of their

motion to dismiss.

                                  INTRODUCTION

      Wisconsin held its general election on November 3 after months of careful

preparation and public announcement of election procedures. Since then, the votes

have been counted, audited, and many were counted again. The results are now

tallied and certified. The candidate who received the most votes for the office of

President of the United States is former Vice President Joe Biden.

      Plaintiff William Feehan was a nominee to be an electoral college elector for

candidate President Donald Trump. He now, for the first time, alleges that the long-

planned election procedures were unlawful and that the outcome is additionally

tainted by a conspiracy dating back to the administration of Venezuelan president

Hugo Chavez. He relies on conspiracy theories based on anonymous sources and

inadmissible evidence. On this basis, he asks for disenfranchisement of 318,012

Wisconsin voters and “an order instructing the Defendants to certify the results of

the General Election for Office of the President in favor of President Donald Trump.”

(Dkt. 9 ¶ 139.)

      Plaintiff Feehan lacks standing and asks for unlawful relief that is plainly

barred by latches. Additionally, his claims fail as a matter of law. He states no federal

cause of action and his fraud-based conspiracy theory is not pled with particularly, is




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implausible, and is purportedly supported by inadmissible and unreliable evidence.

This case should be dismissed.

                       MOTION TO DISMISS STANDARDS

       A complaint must be dismissed pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure when as here, the plaintiff has failed to “state a claim upon which

relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, a

“complaint must contain ‘enough facts to state a claim to relief that is plausible on its

face’ and also must state sufficient facts to raise a plaintiff’s right to relief above the

speculative level.” Bissessur v. Indiana Univ. Bd. of Trustees, 581 F.3d 599, 602

(7th Cir. 2009) (citation omitted). “A claim has facial plausibility ‘when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.’” Id. (citation omitted). “The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (citation omitted).

       “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. While detailed factual allegations are not

required, “labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “An

inadequate complaint will not survive a motion to dismiss simply because the

defendants managed to figure out the basic factual or legal grounds for the claims.”

Adams v. City of Indianapolis, 742 F.3d 720, 729 (7th Cir. 2014). When, as here, “it



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is ‘clear from the face of the complaint, and matters of which the court may take

judicial notice, that the plaintiff’s claims are barred as a matter of law,’ dismissal is

appropriate.” Thompson v. Progressive Universal Ins. Co., 420 F. Supp. 3d 867, 869

(W.D. Wis. 2019) (quoting Parungao v. Cmty. Health Sys., Inc., 858 F.3d 452, 457

(7th Cir. 2017).)

      Where a complaint expressly alleges “fraud,” Rule 9(b) requires pleading with

“particularity.” This pleading standard requires at a minimum that a plaintiff allege

each of the “who, what, when, where, and how” of the alleged fraud. Vanzant v. Hill's

Pet Nutrition, Inc., 934 F.3d 730, 738 (7th Cir. 2019).

                                     ARGUMENT

      This case has multiple threshold defects that require dismissal. Plaintiff lacks

standing, his inexplicably late claim is barred by laches, and the relief he requests is

barred by the Eleventh Amendment and Substantive Due Process Clause.

      Turning to the individual causes of action, he has stated no constitutional

claim as a matter of law. The Elections and Electors Clauses do not create federal

claims for alleged vote-counting disputes and violations of state election law of the

kind alleged here do not amount to federal equal protection or due process claims.

Even if Plaintiff had a claim, his purported evidence is shockingly unreliable, is

unlikely to even meet basic evidentiary standards, and cannot possibly support

overturning the results of the election. Finally, the relief he seeks is nothing short of

mass disenfranchisement.




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      A.     This case has fatal jurisdictional and procedural defects that
             require dismissal.

             1.     Plaintiff lacks Article III standing to assert any of his
                    claims.

      Plaintiff is a registered voter and nominee to be a presidential elector for the

Republican Party. (Dkt. 9 ¶ 24.) Neither his status as a registered voter nor an elector

nominee establishes standing.

      Plaintiff states that he is registered to vote in Wisconsin but does not even

allege that he actually voted in the November 2020 election. (Dkt. 9 ¶ 24.) He cannot

claim any injury by being simply registered. Even if he had voted, it is well

established a voter cannot allege the particularized harm necessary to bring a claim

based on alleged defects in other votes. This is so because the harm Plaintiff alleges

to have suffered would, if proven, be experienced equally by all voters in the state.

Martel v. Condos, No. 20-cv-131, 2020 WL 5755289, at *4 (D. Vt. 2020) (“If every voter

suffers the same incremental dilution of the franchise caused by some third-party’s

fraudulent vote, then these voters have experienced a generalized injury.”); see also

Moore v. Circosta, No. 20CV911, 2020 WL 6063332 at *14 (M.D.N.C. 2020); Donald

J. Trump for Pres., Inc. v. Cegavske, No. 20-cv-1445 JCM, 2020 WL 5626974,

at *4–5 (D. Nev. 2020); Paher v. Cegavske, 457 F. Supp. 3d 919, 926 (D. Nev. 2020).

      Plaintiff’s status as a presidential elector likewise does not grant him standing.

He cites Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020), for the proposition, never

recognized in the Seventh Circuit, that elector status grants one standing to challenge

election results. But the dissent in Carson persuasively explained why it does not:




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       Electors are not candidates for public office as that term is commonly
       understood. Whether they ultimately assume the office of elector
       depends entirely on the outcome of the state popular vote for president
       . . . . They are not presented to and chosen by the voting public for their
       office, but instead automatically assume that office based on the public's
       selection of entirely different individuals.

Id. at 1063 (Kelly, J., dissenting). Electors therefore do not have a “particularized

stake” in the election outcome beyond that of ordinary voters. Id. The Third Circuit

rejected a similar standing argument, holding instead that a congressional candidate

lacked Article III standing to assert nearly-identical claims to the ones Plaintiff

pursues here, showing that Carson is an outlier. See Bognet v. Sec’y Commonwealth

of Pennsylvania, No. 20-3214, 2020 WL 6686120, at *8 n.6 (3d. Cir. 2020). And just

today, the Eastern District of Michigan rejected an identical claim. King v. Whitmer,

No. 20-13134 (E.D. MI. December 7, 2020) (explaining that the court is unconvinced

regarding elector-nominee standing). Plaintiff’s elector status grants him no special

standing privileges. Even if the Plaintiff had standing for some claims, he particularly

lacks standing for any claim that violations of state elections law amount to a federal

claim under the Electors Clause. For Electors Clause claims, even candidate plaintiffs

fare no better in the standing inquiry than other citizens. See, e.g., Bognet,

2020 WL 6686120 at *8. This is because every candidate, just like every other citizen,

is in precisely the same position. See id. If an Electors Clause claim belongs to anyone,

it belongs “only to the [legislature].” Id. at *7. Here, for claimants like Plaintiff who

are not the legislature, and bear not even a “conceivable relationship to state

lawmaking processes, they lack standing to sue over the alleged usurpation of the

[legislature’s] rights under the . . . Electors Clause[ ].” Id. at *7.



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              2.     Laches bars Plaintiff’s unreasonably late allegations.

       Plaintiff inexplicitly waited until after the Wisconsin election, after the

canvassing, after the recount, after the audit, after results were certified, and indeed

until the eve of the electoral college vote, to bring his claim of state law violations and

widespread fraud that allegedly originated years ago in the era of Hugo Chavez’s

Venezuelan presidency. If the doctrine of laches means anything, it is that Plaintiff

here cannot overturn the results of a completed and certified election through

preliminary relief in this late-filed case.

       “Laches arises when an unwarranted delay in bringing a suit or otherwise

pressing a claim produces prejudice.” Jones v. Markiewicz-Qualkinbush, 842 F.3d

1053, 1060 (7th Cir. 2016) (citation omitted). “The obligation to seek injunctive relief

in a timely manner in the election context is hardly a new concept.” Id. at 1060–61.

“In the context of elections, . . . any claim against a state electoral procedure must be

expressed expeditiously.” Fulani v. Hogsett, 917 F.2d 1028, 1031 (7th Cir. 1990).

Plaintiff’s tardy claims meets every element laches.

       Plaintiff waited to challenge widely-known procedures until after millions of

voters cast their ballots in reliance on those procedures. That delay is unreasonable

under both the law and common sense and this case should be dismissed See Wood v.

Raffensperger, No. 20-14418, 2020 WL 7094866, at *6 (11th Cir. Dec. 5, 2020)

(Dismissing a case as moot where Plaintiff challenged vote certification after the

election and after results were certified.); (King, No. 20-13134 Dkt. 62:19 (“Plaintiffs

could have lodged their constitutional challenges much sooner than they did, and

certainly not three weeks after Election Day and one week after certification of almost


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three million votes. The Court concludes that Plaintiffs’ delay results in their claims

being barred by laches”).)

       Just for example, on the issue of “indefinitely confined” voters, the legal issues

were litigated in state court almost eight months ago. See Pet. for Original Action,

date March 27, 2020, Supreme Court of Wisconsin, No. 2020AP000557-OA. Plaintiff

obviously could have pressed this indefinite confinement issue in the many months

between when it emerged and the November general election, thus allowing

Wisconsin election officials to adjust accordingly.

       The prejudice caused by Plaintiff’s delay is profound. Plaintiff sat on his claims

allowing millions of Wisconsinites to vote in reliance on those procedures, only to

attack those decisions after they became irreversible. See Fulani, 917 F.2d at 1031

(“As time passes, the state’s interest in proceeding with the election increases in

importance as . . . irrevocable decisions are made.”). This is precisely the type of

prejudice the laches doctrine exists to prevent.

       Nothing less than the right of every Wisconsinite to have their vote for

President counted is at stake if Plaintiff’s requests are granted. Indeed, as the U.S.

Supreme Court explains, “[c]onfidence in the integrity of our electoral processes is

essential to the functioning of our participatory democracy.” Purcell v. Gonzalez,

549 U.S. 1, 4 (2006). One could not shake the public’s confidence in our electoral

process more vigorously than by allowing unforeseeable post-election legal challenges

to invalidate hundreds of thousands of votes that were cast in reliance on election

officials’ guidance.




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             3.     The Eleventh Amendment precludes Plaintiff’s claims
                    seeking this Court to order state officials to comply with
                    state election law.

      Plaintiff fundamentally asks this court for a declaration and injunction against

state officials for alleged violations of state election law that he describes as

“Violations of Wisconsin Election Code.” (Dkt. 9:11.) Such a claim is barred by the

Eleventh Amendment.

      The Eleventh Amendment bars “relief against state officials on the basis of

state law, whether prospective or retroactive.” Pennhurst State School & Hospital v.

Halderman, 465 U.S. 89, 106 (1984). The Supreme Court has explained that “it is

difficult to think of a greater intrusion on state sovereignty than when a federal court

instructs state officials on how to conform their conduct to state law. Such a result

conflicts directly with the principles of federalism that underlie the Eleventh

Amendment.” Id.; see also Rose v. Bd. of Election Comm’rs for City of Chi.,

815 F.3d 372, 375 n.2 (7th Cir. 2016) (“[A]ny argument to the effect that the state did

not follow its own laws is barred by the Eleventh Amendment.”).

      Plaintiff’s federal constitutional claims turn almost entirely on his allegations

about state election officials improperly administering state election law. His

Elections and Electors Clause claim turns on “three separate instances where

Defendants violated the Wisconsin Election Code,” (Dkt. 9 ¶¶ 104–06), just as his

Equal Protection Clause claim rests on how “Defendants failed to comply with the

requirements of the Wisconsin Election Code” (Dkt. 9 ¶ 116) and his due process claim

relies on “Defendants[’] violation of the Wisconsin Election Code” (Dkt. 9 ¶ 129). Just

as in the parallel case from Michigan decided today, “the Eleventh Amendment bars


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Plaintiffs’ claims against Defendants”. (King, No. 20-13134, Dkt. 62:13.) Plaintiff

fundamentally asks this Court to order state officials to follow state election law,

relief that the Eleventh Amendment and Pennhurst squarely bars.

       B.     Plaintiff fails to state any valid federal claim.

              1.     Plaintiff fails to plead a claim under either the Election or
                     Electors Clauses.

       In Count I of the Amended Complaint, Plaintiff alleges violations of the federal

Constitution’s Elections and Electors Clauses which vest authority in “the

Legislature” of each state to regulate “[t]he Times, Places, and Manner of holding

Elections for Senators and Representatives”, U.S. Const. art. I, § 4, cl. 1., and to direct

the selection of presidential electors, U.S. Const. art. II, § 1, cl. 2, respectively. The

cause of action rests entirely on allegations that three aspects of administrative

guidance issued by the Commission were contrary to state election law. (Dkt. 9

¶¶ 104–106.) Those claims fail as a matter of law because his disagreement with how

state officials administered state elections law does not state a violation of the

Elections and Electors Clause.

       It is black-letter law that “’[a] violation of state law does not state a claim under

§ 1983,’ and, more specifically, ‘a deliberate violation of state election laws by state

election officials does not transgress against the Constitution.’” Shipley v. Chi. Bd. of

Election Commissioners, 947 F.3d 1056, 1062 (7th Cir. 2020) (citation omitted); see

also Bognet, 2020 WL 6686120, *6 (“[F]ederal courts are not venues for plaintiffs to

assert a bare right ‘to have the Government act in accordance with law.’”) (citation

omitted); Martinez v. Colon, 54 F.3d 980, 989 (1st Cir. 1995) (“[T]he Constitution is


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not an empty ledger awaiting the entry of an aggrieved litigant’s recitation of alleged

state law violations—no matter how egregious those violations may appear within

the local legal framework.”).

      This non-interference principle rests on a “caution against excessive

entanglement of federal courts in state election matters”:

      The very nature of the federal union contemplates separate functions for
      the states. If every state election irregularity were considered a federal
      constitutional deprivation, federal courts would adjudicate every state
      election dispute, and the elaborate state election contest procedures,
      designed to assure speedy and orderly disposition of the multitudinous
      questions that may arise in the electoral process, would be superseded
      by a section 1983 gloss.

Bodine v. Elkhart Cty. Election Bd., 788 F.2d 1270, 1272 (7th Cir. 1986).

      Plaintiff’s theory here violates this core federalism principle, as it rests solely

on three aspects of administrative guidance issued by the Commission. (Dkt. 9

¶¶ 104–106.) None of these alleged state law violations can support a federal

constitutional claim under cases like Shipley and Bodine. The general rule that “[a]

violation of state law does not state a claim under § 1983,” Shipley, 947 F.3d at 1062,

would no longer have any teeth, and plaintiffs could evade it simply by alleging an

Elections Clause violation. This would threaten to replace Wisconsin’s “elaborate

state election contest procedures” with federal court intervention in the

“multitudinous questions that may arise in the electoral process,” just as Bodine

warned against. 788 F.2d at 1272 (citation omitted); (see also King, No. 20-13134,

Dkt. 62:29–30 (holding in a nearly identical case that “Plaintiffs lack standing to sue

under the Elections and Electors Clause”).) Indeed, this collision between federal and




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state proceedings can be seen playing out here and now. This week, President Trump

is litigating his challenge to Wisconsin’s recount results through the state procedures

under Wis. Stat. § 9.01. Donald J. Trump v. Joseph R. Biden, No. 20CV7092 (Wis.

Cir. Ct. Milwaukee Cty.); Donald J. Trump v. Joseph R. Biden, No. 2020CV2514 (Wis.

Cir. Ct. Dane Cty.) (consolidated with Milwaukee County case No. 20CV007092.)

Simultaneously, Plaintiff here is challenging the count in this Court. It would be hard

to better illustrate the federalism concerns raised by opening the federal courthouse

doors to Plaintiff’s state election law grievances.

              2.     Plaintiff fails to state a claim for equal protection and due
                     process because he asserts ordinary election irregularities
                     that should be handled under state law.

       In counts II and III, Plaintiff alleges constitutional equal protection and due

process claims. But he states no constitutional claim; he merely makes state-law

claims that are fully addressable through state procedures.

       The federal “Constitution is not an election fraud statute.” Bodine, 788 F.2d

at 1271. “It is not every election irregularity . . . which will give rise to a constitutional

claim.” Id. The federal constitution “is implicated only when there is ‘willful conduct

which undermines the organic processes by which candidates are elected.’” Id. at 1272

(emphasis    omitted)    (citation   omitted).    Therefore,   “garden     variety   election

irregularities that could have been adequately dealt with through the procedures set

forth in [state] law” do not support constitutional due process claims. Id.; see also

Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998) (“[G]arden variety election




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irregularities do not violate the Due Process Clause, even if they control the outcome

of the vote or election.”).

       Plaintiff relies on a vote-dilution theory. (Dkt. 9 ¶¶ 114, 125–26.) This theory

fails in its premise because he does not allege that he voted. (Dkt. 9 ¶ 24.) With no

vote, there is nothing to dilute, and his voter-dilution claim fails in its premise.

       Additionally, Plaintiffs’ novel version of vote dilution could not support a

federal claim, even if he had voted. Recognized vote dilution claims involve state laws

that structurally disadvantage certain groups in the voting process. For instance,

Reynolds v. Sims, 377 U.S. 533 (1964), held that state legislative districts must be

apportioned    by    population   to   avoid    diluting   the   votes   of   residents   in

disproportionately populous districts. Other vote dilution claims similarly target

legislative apportionment schemes that disadvantage minorities in violation of either

equal protection or the Voting Rights Act of 1965 (“VRA”). See, e.g., Thornburg v.

Gingles, 478 U.S. 30, 34 (1986) (multimember districts in North Carolina violated

VRA by diluting black vote); Miller v. Johnson, 515 U.S. 900, 911 (1995) (“[A] vote

dilution claim alleges that the State has enacted a particular voting scheme as a

purposeful device ‘[t]o minimize or cancel out the voting potential of racial or ethnic

minorities.’” (citation omitted)).)

       Plaintiff’s novel vote dilution theory, in contrast, rests on alleged vote counting

violations and does not fit within this recognized malapportionment framework, as

the Third Circuit held just days ago in Bognet, 2020 WL 6686210, at *11. There,

individual voters alleged that votes arriving or cast after election day were unlawfully




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counted, thereby diluting the plaintiffs’ votes in an unconstitutional manner.

Id. at *9. The Third Circuit rejected this theory, explaining that “[c]ontrary to [this]

conceptualization, vote dilution under the Equal Protection Clause is concerned with

votes being weighed differently.” Id. Recognizing this unprecedented kind of dilution

claim would upset the delicate balance between state and federal authority over

elections:

      [I]f dilution of lawfully cast ballots by the “unlawful” counting of
      invalidly cast ballots “were a true equal-protection problem, then it
      would transform every violation of state election law (and, actually,
      every violation of every law) into a potential federal equal-protection
      claim requiring scrutiny of the government’s ‘interest’ in failing to do
      more to stop the illegal activity.”

Bognet, 2020 WL 6686210, at *11 (citation omitted).

      Plaintiffs’ novel vote dilution claim would implicate practically any state

election, because “[i]n just about every election, votes are counted, or discounted,

when the state election code says they should not be. But the Constitution ‘d[oes] not

authorize federal courts to be state election monitors.’” Donald J. Trump for

President, Inc. v. Boockvar, No. 20-cv-966, 2020 WL 5997680, at *48 (Oct. 10, 2020)

(second alteration in original) (citing Gamza v. Aguirre, 619 F.2d 449, 454 (5th Cir.

1980)). Yet state election monitors are exactly what federal courts would become, if

unlawfully cast votes alone sufficed to state a constitutional claim.1



      1 Many other federal courts have rejected these kinds of vote dilution claims.
See also, e.g., Republican Party of Pennsylvania v. Cortes, 218 F. Supp. 3d 396, 407
(E.D. Pa. 2016) (“[V]ote dilution cases do not extend to “speculation that fraudulent
voters may be casting ballots elsewhere.”); Donald J. Trump for President, Inc. v.
Boockvar, No. 2:20-CV-966, 2020 WL 5997680, at *59 (W.D. Pa. Oct. 10, 2020)



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      Plaintiff does not cite a single vote dilution case resting on allegedly illegal

votes. Instead, Plaintiff relies primarily on Reynolds—again, a case about dilution

caused by malapportionment. 377 U.S. at 555 (Dkt. 9 ¶ 114.). But Reynolds relied on

cases involving whether Congress had the power to criminalize certain state election

misconduct under federal law. See Ex parte Siebold, 100 U.S. 371 (1879), and United

States v. Saylor, 322 U.S. 385 (1944). As the Third Circuit recognized, Reynolds’s

citation to those two criminal cases does not mean that individual voters may assert

civil vote dilution claims based solely on illegal votes. See Bognet, 2020 WL 6686120,

at *14. Plaintiff also cites Donald J. Trump for President, Inc. v. Bullock,

No. CV 20-66-H-DLC, 2020 WL 5810556 (Sept. 2020), but that case merely

“assum[ed] such a claim exists” only to dismiss it based on a lack of evidence.

      Rejecting Plaintiff’s “illegal vote” dilution theory would not leave the integrity

of Wisconsin’s elections without safeguards. A wide range of regulations govern voter

registration and absentee voting to ensure that only eligible residents receive and

cast absentee ballots. See generally Wis. Stat. ch. 6. If those regulations are purposely

evaded, state election fraud prosecutions may ensue. See generally Wis. Stat. § 12.13.

And recounts are the ultimate backstop, where votes may be identified, challenged,

and, if appropriate, invalidated. See generally Wis. Stat. § 9.01. The crucial point is



(rejecting vote dilution claim resting on potential fraud that did not involve
“malapportionment, disenfranchisement, or intentional discrimination”); Minnesota
Voters All. v. Ritchie, 720 F.3d 1029, 1033 (8th Cir. 2013) (rejecting vote dilution claim
resting on “illegally cast votes” by election day registrants, absent allegations of
“discriminatory or other intentional, unlawful misconduct” by election officials or
“willful and illegal conduct [by] election officials [that] results in fraudulently
obtained or fundamentally unfair voting results”).

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that our system of federalism entrusts electoral integrity to these state-level

protections, not to federal constitutional claims by individual voters. Plaintiff’s vote

dilution claim rests on a fatally flawed legal theory and fails as a matter of law.

             3.     Plaintiff’s purported evidence is unpersuasive, unlikely to
                    meet basic evidentiary standards, and does not support
                    discarding the votes of millions of Wisconsin residents.

      Count IV of the Amended Complaint alleges massive election fraud through an

“insidious, and egregious ploy” to falsely report the outcome of the 2020 Wisconsin

general election. (Dkt. 9 ¶¶ 2, 132–135.) The general theory is that foreign oligarchs

and dictators created a voting system called “Smartmatic” to help Hugo Chavez in

Venezuelan elections. (Dkt. 9 ¶¶ 7–8; 9-1 ¶¶ 13–20.) There is no allegation that

Smartmatic is used in Wisconsin. Instead, an anonymous declarant says that

“software of Dominion and other election tabulating companies relies upon software

that is a descendant of . . . Smartmatic” and Plaintiffs allege that “Dominion Systems

derive from the software designed by Smartmatic Corporation.” (Dkt. 9 ¶ 7;

9-1 ¶ 21.)

      Plaintiff then makes the incredible, and implausible, leap that Dominion

machines in Wisconsin were hacked in 2020. He asks this Court to overturn the

election results because anonymous declarants say that a different system, used in a

different country, for a different election, was manipulated. This would not even pass

Rule 9(b) pleadings standards, let alone support the unprecedented and

extraordinary act of having a federal court reverse the outcome of a certified state

election.



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      Things get even worse looking past the pleadings to the supporting documents.

Even a facial review shows a complete lack of reliable evidence. Much of Plaintiff’s

purported evidence comes from undisclosed witnesses or is completely irrelevant to

Wisconsin. What little even mentions Wisconsin is based on plainly unreliable data

and reasoning. His purported evidence does not meet admissibility standards and is

not in the ballpark of supporting his extraordinary request.

      Of Plaintiff’s 18 proffers of evidence, five are from anonymous declarants

where the names of the witness or expert are redacted. (Dkt. 9-1; 9-4; 9-12; 9-13;

9-19.) This makes it impossible to evaluate the legitimacy or potential bias of the

evidence and those declarations should be disregarded. Even hypothetically looking

past the secret sources, the affidavits are astoundingly thin. Exhibit 1 propounds at

length about the integrity of past elections in Venezuela but offers no information

about the 2020 Wisconsin election. Exhibit 12 is from a self-proclaimed “white-hat

hacker” who testifies to the unremarkable fact that Dominion’s public website has

internet interrelationships in other countries, but makes absolutely no connection to

Wisconsin voting machines or data security. (Dkt. 9-12:1.) Exhibit 13 is from an

anonymous source who purports to be an “amateur network tracer and typographer”

whose third-hand amateur opinions about corporate relationships amount to a

conspiracy theory. (Dkt. 9-13:1.)

      The documents include two anonymous expert reports. (Dkt. 9-4; 9-19.) Exhibit

4 offers a terse statistical analysis culminating in a graphic where the author

identifies “large red dots” on a vote ratio chart where Biden overperformed




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predictions in counties using Dominion voting machines. (Dkt. 9-4:2–3.) It is difficult

to discern what, if anything, the scatter plot shows, and the report notably leaves

unexplained that nearly all of the graph’s “large dot” indicators, red and blue, show

overperformance, which is more consistent with the conclusion that more voters

turned out and Biden overperformed everywhere, which is why he won the election.

That one candidate received more than expected votes at a particular voting machine

is entirely unremarkable in an election with high turnout where that candidate won.

And anonymous expert report Exhibit 19 leads its analysis with the unhelpful

statement that “it is possible to obtain rough estimates on how vote fraud could

possibly have effected [sic] the election.” (Dkt. 9-19:2.) As if that were not speculative

enough, the report indicates that its Wisconsin “data was obtained from the twitter

account of @shylockh, who derived his sources from the New York Times and in some

cases from the unofficial precinct reports.” (Dkt. 9-19:8–9.) Such anonymous, bare

speculation on third- or fourth-hand information is unpersuasive.

      Of the documents that are at least authored, many have nothing to do with the

Wisconsin election. (Dkt. 9-6; 9-7; 9-8; 9-10; 9-11; 9-14; 9-15; 9-16; 9-18.) For example,

Exhibit 6 is a statement from a Colorado resident who reports going to an Antifa

meeting and overhearing a conversation where he believes he heard a person named

“Eric” state that he is making sure Trump does not win the election. (Dkt. 9-6:2.)

Through a series of Google searches and listeners of his podcast, he opines that a

former employee of Dominion named Eric has altered the election. (Dkt. 9-6:2–6.)




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This Googled evidence, based on hearsay at an alleged meeting in Colorado, is not

reliable evidence of election fraud in Wisconsin.

      Exhibit 7 is from a person who observed polls in Atlanta, Georgia, in June and

August of 2020 and does not even mention Wisconsin. Exhibit 8 opines on the political

status of Venezuela. Exhibit 14 is from a person who reports that he has reviewed

materials about Dominion voting systems, all from public websites, but offers no

information about Wisconsin election processes. And Exhibits 10, 11, 15, 16 and 18

are generalized articles or letters about election systems generally that do nothing to

prove Plaintiff’s claims that vote tabulating in Wisconsin is inaccurate.

      The very few non-anonymous filings that even discuss the Wisconsin election

are facially unpersuasive and likely do not even meet evidentiary reliability

standards. Expert testimony is inadmissible unless it: will help the trier of fact to

understand the evidence; is based on sufficient facts or data; is the product of reliable

principles and methods; and the expert has reliably applied the principles and

methods to the facts of the case. Fed. R. Evid. 702. In assessing the admissibility of

expert testimony, courts must ensure that the testimony is both reliable and relevant.

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993). District

courts “must evaluate: (1) the proffered expert’s qualifications; (2) the reliability of

the expert’s methodology; and (3) the relevance of the expert’s testimony.”

Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 779 (7th Cir. 2017). The party

offering the expert testimony has the burden of establishing that the proffered

testimony satisfies Fed. R. Evid. 702. Id. at 782.




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      Plaintiff offers four expert opinions in support of his request to overturn the

Presidential election. (Dkt. 9-2; 9-3; 9-9; 9-17.) None meet the standard in Rule 702.

      One is a re-filing of a report that was previously filed in a state court case, from

Matthew Braynard. (Dkt. 9-3.) Braynard does not appear to be qualified to offer the

opinions in his report. He offers statistical conclusions based on a purported sampling

of voters in certain categories, which he opines are representative of various larger

categories of voters. Braynard has no formal education in statistics or statistical

surveys. Instead, his report indicates he has a degree in business administration.

(Dkt. 9-3:3.) It is dubious whether Braynard’s opinions are based on “sufficient facts

and data” or whether his methods are reliable. Braynard says he used voter

information provided by “L2 Political” (Dkt. 9-3:3), but it is unknown whether this

data reliably reflects information on Wisconsin voters. He also purports to rely on a

database of address changes, but it is unclear whether this database accurately

reflects electors’ correct addresses for voting purposes. Further, his conclusions are

based on the results of telephone calls made by call centers and “social media

researchers” that are of unknown quality. (Dkt. 9-3:3.) These telephone surveys could

easily include bad data and unreliable methods, given that the report does not

disclose exactly how these surveys were conducted. Plaintiff has not shown that

phone surveys like these can reliably obtain information about voters or that his

limited sample of voters who responded is representative of the whole.

      Next is the report of William Briggs, which exclusively used the flawed data

from Braynard. (Dkt. 9-2:1.) Even apart from this flawed underlying data, Briggs’s




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analyses are woeful. He concludes that thousands of people received absentee ballots

who did not request one. (Dkt. 9-2:1.) His report fails to account for voters who have

requested that absentee ballots be sent automatically for every election, which would

fully explain his concern. Even setting aside whether that is even an indicia of fraud,

one would assume that to reach this conclusion he identified people who received a

ballot without requesting one. Not so. His report explains that he used phone survey

results that asked, for example, whether a person requested an absentee ballot.

(Dkt. 9-2:5.) His report indicates that only 433 people, out of the millions of Wisconsin

voters, completed the survey. (Dkt. 9-2:5.) He assumes that this tiny sample was

representative of the whole state and scaled the number up to predict the total

number of people who requested ballots, and compared that to the number of people

receiving ballots. (Dkt. 9-2:1.) What he did not do is the obvious analysis of asking

anyone whether they received a ballot without asking for one. As he concedes in his

report: “Survey respondents were not asked if they received an unrequested ballot . .

. This is clearly a lively [sic] possibility . . . no estimates or likelihood can be calculated

for this potential error due to absence of data.” (Dkt. 9-2:2.) This type of methodology

failure pervades his report.

       The final two are the Keshel and Ramshland Jr. opinions, which are likewise

unpersuasive. (Dkt. 9:9, 17.) Keshel is a data analysist with no apparent elections

training but who reports that he has “political involvement requiring knowledge of

election trends and voting behavior.” (Dkt. 9-9:1.) He used uncertified information

from an “unofficial tracker” to determine that the 2020 elections went “against the




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trends of the previous election” to elect a Democratic candidate. (Dkt. 9-9:1, 4.) But

this is no more than acknowledging that a Republican won in 2016 and a Democrat

won in 2020. Keshel refers to this as “suspicious vote totals” but it does not show any

more than a different outcome in 2020 than in the past.

         Ramshland Jr. does not disclose his data source other than “[m]y colleague and

I . . . have studied the information that was publicly available.” (Dkt. 9-17:4.) From

this, he identifies “red flags” including a very high turnout in several Wisconsin

counties. (Dkt. 9-17:9.) He concludes that fraud occurred because many votes for

Biden were counted late in the tabulating process. (Dkt. 9-17:4–5.) But, as now been

repeatedly publicly explained, this occurred because absentee ballots, which favored

Democratic candidates, were counted together late in the election day. The report also

“normalized” the turnout to a lower rate and found that “the excess votes are at least

384,085 over the maximum that could be expected. (Dkt. 9-17:9.) But this

“normalization” is nothing more than lowering the vote count. He concludes on this

analysis that there were up to 384,085 “illegal votes that must be disregarded.”

(Dkt. 9-17:12.) The idea that Wisconsin should discard votes because more people

voted than normal is absurd.

         This unpersuasive and unreliable evidence stands in contrast to an actual

hand-count audit of the machines used in the election, which showed no fraud. Like

in the parallel Michigan case, “With nothing but speculation and conjecture that votes

for President Trump were destroyed, discarded or switched to votes for Vice President

Biden,     Plaintiffs’   equal   protection    claim   fails.”   (King,   No.   20-13134,




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Dkt. 62:29–30.) This Court should not conclude, on Plaintiff’s proffer of anonymous

declarations, hearsay, and facially faulty analyses, that Wisconsin should disregard

the outcome of the election for President.2

      C.      Plaintiff’s requested   remedy           would      unconstitutionally
              disenfranchise Wisconsin voters.

      Regardless of all of the other reasons Plaintiff’s claims fail, the remedy he

seeks—the exclusion of hundreds of thousands of votes in Wisconsin—would violate

these voter’s federal due process rights by retroactively overriding election

procedures that those voters relied on and nullifying votes cast for Vice President

Biden based on a speculative and far-fetched conspiracy theory of voter fraud.

      Once a state legislature has directed that the state’s electors are to be

appointed by popular election, the people’s “right to vote as the legislature has

prescribed is fundamental.” Bush v. Gore, 531 U.S. 98, 104 (2000) (per curiam). That

fundamental right to vote includes “the right of qualified voters within a state to cast

their ballots and have them counted.” United States v. Classic, 313 U.S. 299, 315

(1941).

      Due process is violated when voters rely on an established election procedure

and significant disenfranchisement results from a change in the procedures post-

election. Bennett, 140 F.3d at 1227; Northeast Ohio Coal. for the Homeless v. Husted,




      2 Plaintiff’s request for the Court to “seize and impound” all equipment
statewide, is also misdirected. (Dkt. 9 ¶ 48.) The Commission does not own or have
custody over such election equipment. See Wis. Stat. 5.91; Wis. Admin. Code ch. EL
7; https://elections.wi.gov/elections-voting/security (explaining that municipalities
purchase the equipment.)

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837 F.3d 612 (6th Cir. 2016) (finding no reason to invalidate a ballot when there was

no evidence of voter fraud.); Griffin v. Burns, 570 F.2d 1065, 1079 (1st Cir. 1978)

(retroactive invalidation of absentee ballots violated due process). Those conditions

would be squarely met here by Plaintiff’s requested relief.

      Wisconsin voters who reasonably relied on the established voting procedures

would be disenfranchised by the thousands, raising serious concerns of a due process

violation. To throw out the votes of 318,012 Wisconsin voters based on an implausible

conspiracy regarding voting machine would violate the constitutional rights of these

voters.

                                  CONCLUSION

      Defendants Wisconsin Elections Commission and its members request that

this case be dismissed.

      Dated this 7th day of December 2020.

                                       Respectfully submitted,

                                       JOSHUA L. KAUL
                                       Attorney General of Wisconsin

                                       Electronically signed by:

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